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                    IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF PUERTO RICO


 IN THE MATTER OF:                                         CASE NO. 05-04680 (ESL)
 JOSE RODRIGUEZ ROSA                                       CHAPTER 7
 CARMEN ALVARADO TORRES
            DEBTOR
 ss. # 5821
 ss. # 7557


            MOTION SUBMITTING AMENDED PETITION, AMENDED
           SCHEDULES B AND AMENDED STATEMENT OF FINANCIAL
         AFFAIRS PURSUANT TO US TRUSTEE REQUEST AT 341 MEETING

TO THE HONORABLE COURT:

       COMES NOW, Debtors herein through their undersigned attorney, and very respectfully

       state and pray:

       1.      On May 23, 2005, Debtors herein filed their petition under the provisions of Chapter

               7 of the Bankruptcy Code.

       2.      On June 21, 2005 the Meeting of Creditors was held and the same was continued to

               July 12, 2005. On this meeting the US Trustee requested to the Debtor that various

               amendments be made to the Petition, Schedule B and Statement of Financial Affairs.

       3.      As per this request, Debtors hereby submit the Amended Petition, Amended

               Schedule B and the Amended Statement of Financial Affairs.

       WHEREFORE, Debtor herein respectfully requests this Honorable Court to take notice of

the above stated.

       I HEREBY CERTIFY that on July 12, 2005, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
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following: the U.S. Trustee. and that I notified by regular mail to all creditors and parties in interest,

as per the master address list.

        RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico, this 12th day of July, 2005.

                                                C. CONDE & ASSOC.
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                                                SUITE 5
                                                SAN JUAN, PR 00901-1523
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                                                S/LUISA S. VALLE CASTRO ESQ.
                                                U.S.D.C. NO. 215611
